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                       UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                               CASE NO. 24-cv-22759-RAR

   XYZ CORPORATION,

   Plaintiff,

   v.

   THE INDIVIDUALS, PARTNERSHIPS AND
   UNINCORPORATED ASSOCIATIONS IDENTIFIED
   ON SCHEDULE “A”,

   Defendants.
   _______________________________________________/
        NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY

          PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by

  undersigned counsel, Plaintiff hereby voluntarily dismisses with prejudice all claims against

  the following Defendants:

            Defendant No.                Store Name as Identified on Schedule A
                   3                                 AnimalGifts
                  10                                 Co-link store
                  12                              customized rejoice
                  17                                 ERDANER
                  25                                 jin hua qing
                  54                                   Tatibana
                 127                                 IBEEDOW
                 133                                OAVQHLG3B
                 140                                  Ouxkmax
                 142                                    qipopiq
                 143                                  Moocorvic
                 144                            Ruimatai Official Store
                 146                             WQJNWEQ (USA)
                 148                                  Kayannuo
                 149                                   Jacenvly
                 150                                    Baikeli
                 151                                   KIHOUT
                 152                                 JeashCHAT


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                 156                            Oneshit sales promotion
                 159                                VerPetridure
                 161                              Apmemiss (USA)

  Respectfully submitted on this 22nd day of October, 2024.

                                               LAW FIRM OF RUBIO & ASSOCIATES, P.A.
                                               Attorneys for Plaintiff
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                                               By:/s/ Humberto Rubio
                                               Humberto Rubio, Jr., Esq.
                                               Florida Bar No. 36433
                                               Felipe Rubio, Esq.
                                               Florida Bar No. 123059




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